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                                                                             Eastern District of Kentucey
                                                                                    FILED
                       UNITED STATES DISTRICT COURT                                AUG 12 2021
                       EASTERN DISTRICT OF KENTUCKY                                 AT COVINGTON
                            NORTHERN DIVISION                                     ROBERT R CARR
                                                                              CLERK U.S. DISTRICT COURT
                                COVINGTON

UNITED STATES OF AMERICA


V.                                               INDICTMENT NO.            o/ 1--q.q...-Dl-6-C~
                                                          21 U.S.C. § 841(a)(l)

CHRISTOPHER R. DECKER

                                      * * * * *
THE GRAND JURY CHARGES:

       On or about April 20, 2021, in Kenton County, in the Eastern District of

Kentucky,

                            CHRISTOPHER R. DECKER

knowingly and intentionally possessed with intent to distribute 5 grams or more of

methamphetamine (actual), a Schedule II controlled substance, all in violation of 21

U.S.C. § 84l(a)(l).


                                                A TRUE BILL
                                             - - - - - - ~ - ______ _ j t ' ~ - - - - -




CARLTON S. SHIER, IV
ACTING UNITED STATES ATTORNEY
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                                      PENALTIES

        Not less than 5 years and not more than 40 years of imprisonment, a $1,000,000
fine, and at least 4 years of supervised release.

        If prior conviction for "serious drug felony" or "serious violent felony," not
less than 10 years and not more than life imprisonment, not more than $8,000,000 fine,
and at least 8 years of supervised release.

PLUS:        Mandatory special assessment of $100 per count.

PLUS:        Restitution, if applicable.
